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                  IN THE UNITED STATES DISTRICT COURT
        FOR THE NORTHERN DISTRICT OF ILLINOIS – EASTERN DIVISION

ROBERT M. PODLASEK,                       )
                                          )
                     Plaintiff,           )
                                          ) Case No.
              vs.                         )
                                          )
THE OFFICE OF THE STATE’S                 )
ATTORNEY OF COOK COUNTY,                  )
an Agency of the State of Illinois, and   )
THE COUNTY OF COOK.                       )
                                          ) JURY DEMANDED
                              Defendants. )
________________________________________________________________________

                                        COMPLAINT


        The Plaintiff, ROBERT M. PODLASEK, by and through his attorneys, HOLMAN &

STEFANOWICZ, LLC, complains of the Defendants, THE OFFICE OF THE STATE’S

ATTORNEY OF COOK COUNTY, an Agency of the State of Illinois, and THE COUNTY OF

COOK., as follows:

                                      INTRODUCTION

        1.    This action seeks redress for the improper termination of the Plaintiff’s

employment and wrongful discrimination in employment by the Defendant, THE OFFICE OF

THE STATE’S ATTORNEY OF COOK COUNTY, in violation of the Plaintiff’s rights of equal

protection in violation of the Americans with Disabilities Act of 1990 (“ADA”) 42 U.S.C. §

12101 et seq.; and in violation of the Illinois Human Rights Act (“IHRA”) 775 ILCS 5/1-101 et

seq.




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                                    JURISDICTION AND VENUE


          2.      This Court has jurisdiction of the Federal claims herein pursuant to the provisions

of the ADA, 42 U.S.C. § 12101 et seq. and 28 U.S.C. § 1331. For the supplemental Illinois

claims, jurisdiction is conferred upon the Court by 28 U.S.C. § 1367.

          3.      On or about February 22, 2019, the Plaintiff filed a Charge of Discrimination with

the Equal Employment Opportunity Commission (“EEOC”) and the Illinois Department of

Human Rights (“IDHR”).

          4.      On or about January 24, 2020, the EEOC issued the Plaintiff a Notice of Right-to-

Sue on his EEOC Charge. (A copy of the Plaintiff’s Notice is attached hereto as “Exhibit A.”)

The Plaintiff’s cause of action was filed within 90 days of the receipt of his Notice of Right-to-

Sue.

          5.      Venue herein is proper under 28 U.S.C.A. § 1391(b). The unlawful practices

complained of in this Complaint occurred within this District, the employment records relevant

to this matter are maintained and administered within this District, the Plaintiff is a resident of

this District, and the Defendant’s principle place of business is within this District.

                                                PARTIES

          6.      Plaintiff, ROBERT M. PODLASEK (“PODLASEK”) is a resident of the Village

of Barrington, in the County of Cook, in the State of Illinois. PODLASEK was employed as an

Assistant State’s Attorney with the Defendant, THE OFFICE OF THE STATE’S ATTORNEY

OF COOK COUNTY, and had been so employed since on or about June 3, 2003.1 On or about




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    PODLASEK had worked at the STATE’S ATTORNEY prior to his final stint.

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May 8, 2018, PODLASEK’s employment as an Assistant State’s Attorney was improperly

terminated.

       7.     At all times relevant hereto, Defendant, THE OFFICE OF THE STATE’S

ATTORNEY OF COOK COUNTY (hereinafter “STATE’S ATTORNEY”) was and is a Cook

County funded agency of the State of Illinois under the elected leadership of Kimberly M. Foxx,

as the State’s Attorney of Cook County.

       8.     At all times relevant hereto, Defendant, THE COUNTY OF COOK (hereinafter

“COOK COUNTY”), was and is an Illinois municipal corporation, body politic, and unit of local

government, which provides and controls the funding of Defendant, STATE’S ATTORNEY. As

a result of the funding provided by COOK COUNTY to Defendant, STATE’S ATTORNEY,

COOK COUNTY is a necessary party to this cause of action.



                               STATEMENT OF THE FACTS

       9.     The last position held by PODLASEK was as an Assistant State’s Attorney

assigned to the Special Prosecution Bureau, more specifically, PODLASEK was a First Chair

Assistant State’s Attorney in the Public Corruption and Financial Crime Unit.

       10.    During PODLASEK’s employment with Defendant, STATE’S ATTORNEY, his

performance far exceeded his employer’s legitimate expectations; and he had never been warned

that his performance was substandard and/or put him at risk of termination.

       11.    During PODLASEK’s employment with Defendant, STATE’S ATTORNEY, he

did not engage in any willful act of misconduct which would merit termination from his

employment as an Assistant State’s Attorney with Defendant, STATE’S ATTORNEY.




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       12.     For approximately one year prior to his termination, PODLASEK noticed certain

medical changes occurring, which included, without limitation: speech changes including

speaking slower, softer, and slurring; slowed movement, including making simple tasks difficult

and time-consuming, impaired posture and balance, and left arm stiffness and loss of movement.

       13.     In or about March 2018, PODLASEK began seeing a medical specialist in

connection with the medical changes that he was experiencing.

       14.     In or about March 2018, PODLASEK’s direct supervisor, Deidre Dyer, Deputy

Supervisor of the Special Prosecution Bureau, had a conversation with PODLASEK in which she

stated, “Dave [Williams, Supervisor of the Special Prosecution Bureau] asked me ‘do you think

Bob [Podlasek] is drinking on the job.’”

       15.     PODLASEK advised Deidre Dyer that he was not drinking on the job, and that he

was currently seeing a specialist and is going through neurological testing to determine if he has

Parkinson’s disease. PODLASEK advised Deidre Dyer that many of the symptoms of Parkinson

disease, including, without limitation, speech changes, slowed movement, and impaired posture

and balance, mimic alcohol use and abuse. PODLASEK told Deidre Dyer that he wanted to

meet with Dave Williams in order to explain to him that he was not drinking on the job, and that

the alleged conduct of PODLASEK was in fact symptoms of Parkinson’s disease.

       16.     Parkinson’s disease is a progressive nervous system disorder that affects

movement and some cognitive abilities. In Parkinson’s disease, certain nerve cells (neurons) in

the brain gradually break down or die. Many of the symptoms of Parkinson’s disease are due to

a loss of neurons that produce a chemical messenger in your brain called dopamine. When

dopamine levels decrease, it causes abnormal brain activity, leading to the symptoms of

Parkinson’s disease.



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       17.     Shortly after his discussion with Deidre Dyer, PODLASEK met with David

Williams, Supervisor of the Special Prosecution Bureau, and Deidre Dyer, Deputy Supervisor of

the Special Prosecution Bureau, and advised them that he was going to need to take some days

off in connection with additional neurological testing and treatment for his Parkinson’s disease.

David Williams responded, in essence “Thank God, I thought something else was going on with

you and you were drinking on the job, please take as much time as you need.” PODLASEK

again emphasized that many of the symptoms of Parkinson disease that he was experiencing,

including, without limitation, speech changes, slowed movement, and impaired posture and

balance, mimic alcohol use and abuse.    PODLASEK’s request to take any necessary days was

approved.

       18.     Early evening on Friday, May 4, 2018, PODLASEK was allegedly involved in a

minor auto accident within a block of his home. Unaware of the alleged accident, PODLASEK

was approached by the police near the driveway of his home. While PODLASEK was being

questioned by the police, PODLASEK exhibited multiple symptoms consistent with Parkinson’s

disease: difficulties standing on his own, impaired posture and balance, confusion about the

alleged accident, and slow and slurred speech.

       19.     On May 4, 2018, as a result of the symptoms that PODLASEK was exhibiting,

the Barrington Police arrested PODLASEK and charged him with driving under the influence of

alcohol.

       20.     On the morning of Saturday, May 5, 2018, PODLASEK and his wife contacted by

telephone his direct supervisor, Deidre Dyer, Deputy Supervisor of the Special Prosecution

Bureau, and advised her of his arrest, and advised her that it was his belief that the symptoms




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that he was exhibiting in the presence of the police were as a result of his Parkinson’s disease

and not alcohol intoxication.

          21.   On May 5, 2018, Kathy Wallace, the Director of Human Resources for

Defendant, STATE’S ATTORNEY, contacted PODLASEK by telephone and told him that “as a

result of your arrest you are suspended without pay,” and told PODLASEK not to come into the

office.

          22.   On May 6, 2018, PODLASEK contacted his physician concerned about the events

and symptoms he experienced on the early evening of May 4, 2018. PODLASEK’s physician

wanted to see him first thing the next day.

          23.   On May 7, 2018, PODLASEK visited his physician and described the events that

had occurred on May 4, 2018. PODLASEK’s physician opined that PODLASEK had a

neurological event as a result of his Parkinson’s disease, and referred PODLASEK for immediate

additional neurological testing.

          24.   On May 7, 2018, as a result of his physician’s opinions and orders, PODLASEK

made a request on the Defendant, STATE’S ATTORNEY’s on-line system for time-off due to

his medical conditions. PODLASEK’s request was not approved.

          25.   On May 7, 2018, PODLASEK and his wife called the Defendant, STATE’S

ATTORNEY’s Human Resource Department regarding ordinary disability benefits for

PODLASEK due to his medical conditions.

          26.   On May 8, 2018, Kathy Wallace, the Director of Human Resources for

Defendant, STATE’S ATTORNEY, contacted PODLASEK and advised him that “you are

terminated, effective immediately.”




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                                   COUNT I
             (DISABILITY DISCRIMINATION IN VIOLATION OF THE ADA)

       27.     PODLASEK restates and realleges by reference paragraphs 1 through 26 above as

though fully set forth herein.

       28.     The actions of the Defendant, STATE’S ATTORNEY, as perpetrated by its

agents and as described and complained of hereinabove, are unlawful employment practices in

that they likely have the effect and did have the effect of discriminating against, depriving and

tending to deprive equal employment to, and otherwise adversely affecting PODLASEK because

of his disability and/or his perceived disability, in violation of the Americans with Disabilities

Act of 1990, 42 U.S.C. § 12101 et seq.

       29.     Under the ADA, as a result of PODLASEK’s health condition -- Parkinson’s

disease -- PODLASEK is considered to have a disability, because he has a physical or mental

impairment that substantially limits one or more of his major life activities; or PODLASEK is

regarding as having such an impairment by the Defendant. 42 U.S.C. § 12102(1)(A) and (C).

       30.     At the time of his termination, PODLASEK was a qualified individual with a

disability, in that with or without a reasonable accommodation PODLASEK was able to perform

the essential functions of the position he held as an Assistant State’s Attorney. 42 U.S.C. §

12111(8).

       31.     At the time of his termination, PODLASEK was qualified for the position of

Assistant State’s Attorney and was meeting the legitimate performance expectations of his

employer.

       32.     The Defendant, STATE’S ATTORNEY, discriminated against PODLASEK by

suspending and terminating his employment because of his disability -- Parkinson’s disease -- or

as a result of his perceived disability -- Parkinson’s disease. 42 U.S.C. § 12112(a).

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       33.     As a direct and proximate result of the Defendant, STATE’S ATTORNEY’s,

wrongful conduct and improper suspension and termination of PODLASEK’s employment,

PODLASEK suffered mental anguish, emotional distress, humiliation, emotional pain and

suffering, inconvenience, lost wages and benefits, damage to his reputation, and other

consequential and special damages.

       34.     Defendant, STATE’S ATTORNEY’s, wrongful conduct and improper suspension

and termination of PODLASEK’s employment, was intentional, willful, malicious, and/or done

with a reckless disregard to PODLASEK’s right to be free from discrimination and retaliation.

       WHEREFORE, PODLASEK, respectfully requests:

               a.     All wages and benefits PODLASEK would have received but for the
                      discrimination, including pre-judgment interest and reinstatement to the
                      position of Assistant State’s Attorney;

               b.     Compensatory damages in an amount to be determined to compensate
                      PODLASEK for depression, humiliation, anguish, emotional distress, and
                      defamation, caused by the Defendant’s conduct;

               c.     The Defendant be required to pay prejudgment interest to PODLASEK on
                      these damages;

               d.     A permanent injunction enjoining the Defendant from engaging in the
                      discriminatory and wrongful practices complained of herein;

               e.     A permanent injunction requiring that the Defendant adopt employment
                      practices and policies in accord and conformity with the requirements of
                      the ADA, 42 U.S.C. § 12101 et seq.;

               f.     The Court retain jurisdiction of this case until such time as it is assured
                      that the Defendant has remedied the policies and practices complained of
                      herein and is determined to be in full compliance with the law; and

               g.     An award of reasonable attorneys’ fees, costs, and litigation expenses.




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                                   COUNT II
                (FAILURE TO ACCOMMODATE A KNOWN DISABILITY
                           IN VIOLATION OF THE ADA)

       35.     PODLASEK restates and realleges by reference paragraphs 1 through 26 above as

though fully set forth herein.

       36.     The actions of the Defendant, STATE’S ATTORNEY, as perpetrated by its

agents and as described and complained of hereinabove, are unlawful employment practices in

that the Defendant deprived PODLASEK of his rights under the Americans with Disabilities Act

of 1990, 42 U.S.C. § 12101 et seq., by failing to make reasonable accommodations to the known

physical or mental limitations of PODLASEK, an otherwise qualified individual.

       37.     Under the ADA, as a result of PODLASEK’s health condition -- Parkinson’s

disease -- PODLASEK is considered to have a disability, because he has a physical or mental

impairment that substantially limits one or more of his major life activities; or PODLASEK is

regarding as having such an impairment by the Defendant. 42 U.S.C. § 12102(1)(A) and (C).

       38.     Prior to his termination, PODLASEK was a qualified individual with a disability,

in that with or without a reasonable accommodation PODLASEK was able to perform the

essential functions of the position he held as an Assistant State’s Attorney. 42 U.S.C. §

12111(8).

       39.     Prior to his termination, PODLASEK was qualified for the position of Assistant

State’s Attorney and was meeting the legitimate performance expectations of his employer.

       40.     The Defendant, STATE’S ATTORNEY, failed and refused to engage in an

interactive process with PODLASEK once the Defendant was advised by PODLASEK that he

had a need for a reasonable accommodation as a result of his physical or mental limitations --

Parkinson’s disease. 29 C.F.R. § 1630.2(o)(3).



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       41.     The Defendant, STATE’S ATTORNEY, failed and refused to make a reasonable

accommodation to the known physical or mental limitations of PODLASEK -- Parkinson’s

disease -- who was an otherwise qualified individual with a disability or perceived disability. 42

U.S.C. § 12112(b)(5)(A).

       42.     As a direct and proximate result of the Defendant, STATE’S ATTORNEY’s,

wrongful conduct of not engaging in an interactive process with PODLASEK and refusing to

make a reasonable accommodation for PODLASEK, which ultimately lead to the improper

suspension and termination of PODLASEK’s employment, PODLASEK suffered mental

anguish, emotional distress, humiliation, emotional pain and suffering, inconvenience, lost wages

and benefits, damage to his reputation, and other consequential and special damages.

       43.     Defendant, STATE’S ATTORNEY’s, wrongful conduct of not engaging in an

interactive process with PODLASEK and refusing to make a reasonable accommodation for

PODLASEK, which ultimately lead to the improper suspension and termination of

PODLASEK’s employment, was intentional, willful, malicious, and/or done with a reckless

disregard to PODLASEK’s right to be free from discrimination and retaliation.

       WHEREFORE, PODLASEK, respectfully requests:

               a.     All wages and benefits PODLASEK would have received but for the
                      discrimination, including pre-judgment interest and reinstatement to the
                      position of Assistant State’s Attorney;

               b.     Compensatory damages in an amount to be determined to compensate
                      PODLASEK for depression, humiliation, anguish, emotional distress, and
                      defamation, caused by the Defendant’s conduct;

               c.     The Defendant be required to pay prejudgment interest to PODLASEK on
                      these damages;

               d.     A permanent injunction enjoining the Defendant from engaging in the
                      discriminatory and wrongful practices complained of herein;


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               e.      A permanent injunction requiring that the Defendant adopt employment
                       practices and policies in accord and conformity with the requirements of
                       the ADA, 42 U.S.C. § 12101 et seq.;

               f.      The Court retain jurisdiction of this case until such time as it is assured
                       that the Defendant has remedied the policies and practices complained of
                       herein and is determined to be in full compliance with the law; and

               g.      An award of reasonable attorneys’ fees, costs, and litigation expenses.



                               COUNT III
        (RETALIATION AND INTERFERENCE IN VIOLATION OF THE ADA)


       44.     PODLASEK restates and realleges by reference paragraphs 1 through 26 above as

though fully set forth herein.

       45.     The actions of the Defendant, STATE’S ATTORNEY, as perpetrated by its

agents and as described and complained of hereinabove, are unlawful employment practices in

that the Defendant deprived PODLASEK of his rights under the Americans with Disabilities Act

of 1990, 42 U.S.C. § 12101 et seq., by retaliating and interfering with PODLASEK for

exercising his rights under the ADA in making requests for reasonable accommodations to the

known physical or mental limitations of PODLASEK, an otherwise qualified individual.

       46.     Under the ADA, as a result of PODLASEK’s health condition -- Parkinson’s

disease -- PODLASEK is considered to have a disability, because he has a physical or mental

impairment that substantially limits one or more of his major life activities; or PODLASEK is

regarding as having such an impairment by the Defendant. 42 U.S.C. § 12102(1)(A) and (C).




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       47.     Prior to his termination, PODLASEK was a qualified individual with a disability,

in that with or without a reasonable accommodation PODLASEK was able to perform the

essential functions of the position he held as an Assistant State’s Attorney. 42 U.S.C. §

12111(8).

       48.     Prior to his termination, PODLASEK was qualified for the position of Assistant

State’s Attorney and was meeting the legitimate performance expectations of his employer.

       49.     The Defendant, STATE’S ATTORNEY, failed and refused to engage in an

interactive process with PODLASEK once the Defendant was advised by PODLASEK that he

had a need for a reasonable accommodation as a result of his physical or mental limitations --

Parkinson’s disease. 29 C.F.R. § 1630.2(o)(3).

       50.     The Defendant, STATE’S ATTORNEY, failed and refused to make a reasonable

accommodation to the known physical or mental limitations of PODLASEK -- Parkinson’s

disease -- who was an otherwise qualified individual with a disability or perceived disability. 42

U.S.C. § 12112(b)(5)(A).

       51.     The Defendant, STATE’S ATTORNEY, retaliated and/or interfered with

PODLASEK because he exercised his rights under the ADA by requesting a reasonable

accommodation for his disability -- Parkinson’s disease. 42 U.S.C. § 12203(a) and (b).

       52.     As a direct and proximate result of the Defendant, STATE’S ATTORNEY’s,

wrongful conduct of retaliation and/or interference with PODLASEK because he exercised his

rights under the ADA by requesting a reasonable accommodation for his disability, which

ultimately lead to the improper suspension and termination of PODLASEK’s employment,

PODLASEK suffered mental anguish, emotional distress, humiliation, emotional pain and




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suffering, inconvenience, lost wages and benefits, damage to his reputation, and other

consequential and special damages.

       53.     Defendant, STATE’S ATTORNEY’s, wrongful conduct of retaliation and/or

interference with PODLASEK because he exercised his rights under the ADA by requesting a

reasonable accommodation for his disability, which ultimately lead to the improper suspension

and termination of PODLASEK’s employment, was intentional, willful, malicious, and/or done

with a reckless disregard to PODLASEK’s right to be free from discrimination and retaliation.

       WHEREFORE, PODLASEK, respectfully requests:

               a.     All wages and benefits PODLASEK would have received but for the
                      discrimination, including pre-judgment interest and reinstatement to the
                      position of Assistant State’s Attorney;

               b.     Compensatory damages in an amount to be determined to compensate
                      PODLASEK for depression, humiliation, anguish, emotional distress, and
                      defamation, caused by the Defendant’s conduct;

               c.     The Defendant be required to pay prejudgment interest to PODLASEK on
                      these damages;

               d.     A permanent injunction enjoining the Defendant from engaging in the
                      discriminatory and wrongful practices complained of herein;

               e.     A permanent injunction requiring that the Defendant adopt employment
                      practices and policies in accord and conformity with the requirements of
                      the ADA, 42 U.S.C. § 12101 et seq.;

               f.     The Court retain jurisdiction of this case until such time as it is assured
                      that the Defendant has remedied the policies and practices complained of
                      herein and is determined to be in full compliance with the law; and

               g.     An award of reasonable attorneys’ fees, costs, and litigation expenses.




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                                   COUNT IV
             (DISABILITY DISCRIMINATION IN VIOLATION OF THE IHRA)


       54.     PODLASEK restates and realleges by reference paragraphs 1 through 26 above as

though fully set forth herein.

       55.     The actions of the Defendant, STATE’S ATTORNEY, as perpetrated by its

agents and as described and complained of hereinabove, are unlawful employment practices in

that they likely have the effect and did have the effect of discriminating against, depriving and

tending to deprive equal employment to, and otherwise adversely affecting PODLASEK because

of his disability and/or his perceived disability, in violation of the Illinois Human Rights Act,

775 ILCS 5/2-102.

       56.     The Illinois Human Rights Act makes it unlawful to discriminate against any

individual in the terms, conditions, or privileges of employment on the basis of a disability. 775

ILCS 5/1-103(Q); 775 ILCS 5/2-102.

       57.     By its conduct described herein, Defendant, STATE’S ATTORNEY, subjected

PODLASEK to disability discrimination in violation of the Illinois Human Rights Act, 775 ILCS

5/2-102.

       58.     The Defendant, STATE’S ATTORNEY, failed and refused to engage in an

interactive process with PODLASEK once the Defendant was advised by PODLASEK that he

had a need for a reasonable accommodation as a result of his physical or mental limitations --

Parkinson’s disease. 775 ILCS 5/2-102.




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       59.     The Defendant, STATE’S ATTORNEY, failed and refused to make a reasonable

accommodation to the known physical or mental limitations of PODLASEK -- Parkinson’s

disease -- who was an otherwise qualified individual with a disability or perceived disability.

775 ILCS 5/2-102.

       60.     The Defendant, STATE’S ATTORNEY, discriminated against PODLASEK by

suspending and terminating his employment because of his disability -- Parkinson’s disease -- or

as a result of his perceived disability -- Parkinson’s disease. 775 ILCS 5/2-102.

       61.     As a direct and proximate result of the Defendant, STATE’S ATTORNEY’s,

wrongful conduct and improper suspension and termination of PODLASEK’s employment,

PODLASEK suffered mental anguish, emotional distress, humiliation, emotional pain and

suffering, inconvenience, lost wages and benefits, damage to his reputation, and other

consequential and special damages.

       62.     Defendant, STATE’S ATTORNEY’s, wrongful conduct and improper suspension

and termination of PODLASEK’s employment, was intentional, willful, malicious, and/or done

with a reckless disregard to PODLASEK’s right to be free from discrimination and retaliation.

       WHEREFORE, PODLASEK, respectfully requests:

               a.      All wages and benefits PODLASEK would have received but for the
                       discrimination, including pre-judgment interest and reinstatement to the
                       position of Assistant State’s Attorney;

               b.      Compensatory damages in an amount to be determined to compensate the
                       Complainant for depression, humiliation, anguish, emotional distress, and
                       defamation, caused by the Defendant’s conduct;

               c.      The Defendant be required to pay prejudgment interest to PODLASEK on
                       these damages;

               d.      A permanent injunction enjoining the Defendant from engaging in the
                       discriminatory and wrongful practices complained of herein;


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               e.      A permanent injunction requiring that the Defendant adopt employment
                       practices and policies in accord and conformity with the requirements of
                       the IHRA, 775 ILCS 5/1-101 et seq.;

               f.      The Court retain jurisdiction of this case until such time as it is assured
                       that the Defendant has remedied the policies and practices complained of
                       herein and is determined to be in full compliance with the law; and

               g.      An award of reasonable attorneys’ fees, costs, and litigation expenses.




                              COUNT V
  (IMPROPER USE OF THE FACT OF AN ARREST IN VIOLATION OF THE IHRA)


       63.     PODLASEK restates and realleges by reference paragraphs 1 through 26 above as

though fully set forth herein.

       64.     The actions of the Defendant, STATE’S ATTORNEY, as perpetrated by its

agents and as described and complained of hereinabove, are a civil rights violation as a result of

the Defendant, STATE’S ATTORNEY’s, improper use of the fact of PODLASEK’s arrest as the

basis for the suspension and termination of PODLASEK’s employment, in violation of the

Illinois Human Rights Act, 775 ILCS 5/2-103.

       65.     The Illinois Human Rights Act makes it unlawful to discriminate against any

individual in the terms, conditions, or privileges of employment on the basis of the fact of an

arrest. 775 ILCS 5/2-103.

       66.     By its conduct described herein, Defendant, STATE’S ATTORNEY, suspended

and terminated PODLASEK’s employment based upon the fact of his arrest in violation of the

Illinois Human Rights Act, 775 ILCS 5/2-103.




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       67.     As a direct and proximate result of the Defendant, STATE’S ATTORNEY’s,

wrongful conduct and improper suspension and termination of PODLASEK’s employment,

PODLASEK suffered mental anguish, emotional distress, humiliation, emotional pain and

suffering, inconvenience, lost wages and benefits, damage to his reputation, and other

consequential and special damages.

       68.     Defendant, STATE’S ATTORNEY’s, wrongful conduct and improper suspension

and termination of PODLASEK’s employment, was intentional, willful, malicious, and/or done

with a reckless disregard to PODLASEK’s right to be free from discrimination.

       WHEREFORE, PODLASEK respectfully requests:

               a.     All wages and benefits PODLASEK would have received but for the
                      discrimination, including pre-judgment interest and reinstatement to the
                      position of Assistant State’s Attorney;

               b.     Compensatory damages in an amount to be determined to compensate
                      PODLASEK for depression, humiliation, anguish, emotional distress, and
                      defamation, caused by the Defendant’s conduct;

               c.     The Defendant be required to pay prejudgment interest to PODLASEK on
                      these damages;

               d.     A permanent injunction enjoining the Defendant from engaging in the
                      discriminatory and wrongful practices complained of herein;

               e.     A permanent injunction requiring that the Respondent adopt employment
                      practices and policies in accord and conformity with the requirements of
                      the IHRA, 775 ILCS 5/2-103.

               f.     The Court retain jurisdiction of this case until such time as it is assured
                      that the Defendant has remedied the policies and practices complained of
                      herein and is determined to be in full compliance with the law; and

               g.     An award of reasonable attorneys’ fees, costs, and litigation expenses.




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                                     COUNT VI
                      (RETALIATION IN VIOLATION OF THE IHRA)


       69.     PODLASEK restates and realleges by reference paragraphs 1 through 26 above as

though fully set forth herein.

       70.     The actions of the Defendant, STATE’S ATTORNEY, as perpetrated by its

agents and as described and complained of hereinabove, are a civil rights violation as a result of

the Defendant, STATE’S ATTORNEY’s, improper retaliation as a result of PODLASEK’s

request for a reasonable accommodation to the known physical or mental limitations of the

PODLASEK -- Parkinson’s disease -- in violation of the Illinois Human Rights Act, 775 ILCS

5/6-101(A).

       71.     The IHRA makes it unlawful to retaliate against any individual in the terms,

conditions, or privileges of employment because the individual requested, attempted to request,

used, or attempted to use a reasonable accommodation as allowed by the IHRA. 775 ILCS 5/6-

101(A).

       72.     By its conduct described herein, Defendant, STATE’S ATTORNEY, retaliated

against PODLASEK because he exercised his rights under the IHRA by requesting a reasonable

accommodation for his disability, which ultimately lead to the improper suspension and

termination of PODLASEK’s employment, in violation of the Illinois Human Rights Act, 775

ILCS 5/6-101(A).

       73.     As a direct and proximate result of the Defendant, STATE’S ATTORNEY’s,

wrongful conduct of retaliation and/or interference with PODLASEK because he exercised his

rights under the IHRA by requesting a reasonable accommodation for his disability, which

ultimately lead to the improper suspension and termination of PODLASEK’s employment,



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PODLASEK suffered mental anguish, emotional distress, humiliation, emotional pain and

suffering, inconvenience, lost wages and benefits, damage to his reputation, and other

consequential and special damages.

       74.     Defendant, STATE’S ATTORNEY’s, wrongful conduct of retaliation and/or

interference with PODLASEK because he exercised his rights under the IHRA by requesting a

reasonable accommodation for his disability, which ultimately lead to the improper suspension

and termination of PODLASEK’s employment, was intentional, willful, malicious, and/or done

with a reckless disregard to PODLASEK’s right to be free from discrimination and retaliation.

       WHEREFORE, PODLASEK, respectfully requests:

               a.     All wages and benefits PODLASEK would have received but for the
                      discrimination, including pre-judgment interest and reinstatement to the
                      position of Assistant State’s Attorney;

               b.     Compensatory damages in an amount to be determined to compensate
                      PODLASEK depression, humiliation, anguish, emotional distress, and
                      defamation, caused by the Defendant’s conduct;

               c.     The Defendant be required to pay prejudgment interest to PODLASEK on
                      these damages;

               d.     A permanent injunction enjoining the Defendant from engaging in the
                      discriminatory and wrongful practices complained of herein;

               e.     A permanent injunction requiring that the Defendant adopt employment
                      practices and policies in accord and conformity with the requirements of
                      the IHRA, 775 ILCS 5/1-101 et seq.;

               f.     The Court retain jurisdiction of this case until such time as it is assured
                      that the Defendant has remedied the policies and practices complained of
                      herein and is determined to be in full compliance with the law; and

               g.     An award of reasonable attorneys’ fees, costs, and litigation expenses.




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THE PLAINTIFF DEMANDS TRIAL BY JURY.




                                      Respectfully submitted,
                                      PLAINTIFF,


                                      s/    Brian R. Holman
                                      ________________________
                                      By:   One of his Attorneys


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